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 Information to identify the case:
 Debtor
                   Gump's Holdings, LLC                                                         EIN _ _−_ _ _ _ _ _ _
                   Name


 United States Bankruptcy Court District of Nevada
                                                                                                Date case filed for chapter 11 8/3/18
 Case number: 18−14683−leb


Official Form 309F (For Corporations or Partnerships)

Notice of Chapter 11 Bankruptcy Case                                                                                                                   12/17

For the debtor listed above, a case has been filed under chapter 11 of the Bankruptcy Code. An order for relief has
been entered.
This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully.
The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not take action to collect debts
from the debtor or the debtor's property. For example, while the stay is in effect, creditors cannot sue, assert a deficiency, repossess property, or
otherwise try to collect from the debtor. Creditors cannot demand repayment from the debtor by mail, phone, or otherwise. Creditors who violate the stay
can be required to pay actual and punitive damages and attorney's fees.
Confirmation of a chapter 11 plan may result in a discharge of debt. A creditor who wants to have a particular debt excepted from discharge may be
required to file a complaint in the bankruptcy clerk's office within the deadline specified in this notice. (See line 11 below for more information.)
To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at the address listed below or
through PACER (Public Access to Court Electronic Records at www.pacer.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

Do not file this notice with any proof of claim or other filing in the case.



  1. Debtor's full name                       Gump's Holdings, LLC


  2. All other names used in the
     last 8 years

                                              Garman Turner Gordon
  3. Address                                  650 WHITE DR STE 100
                                              LAS VEGAS, NV 89119−9018

                                              WILLIAM M. NOALL                                              Contact phone 725−777−3000
                                              GARMAN TURNER GORDON                                          Email bknotices@gtg.legal
  4. Debtor's attorney                        650 WHITE DR, STE 100
      Name and address
                                              LAS VEGAS, NV 89119

  5. Bankruptcy clerk's office                                                                                Office Hours 9:00 AM − 4:00 PM
      Documents in this case may be filed
      at this address.                         300 Las Vegas Blvd., South                                     Contact phone (702) 527−7000
      You may inspect all records filed in     Las Vegas, NV 89101
      this case at this office or online at
      www.pacer.gov.                                                                                          Date: 8/4/18

  6. Meeting of creditors                                                                                 Location:
      The debtor's representative must    September 6, 2018 at 04:00 PM
      attend the meeting to be questioned
      under oath.                         The meeting may be continued or adjourned to a later            300 Las Vegas Blvd., South, Room
      Creditors may attend, but are not   date. If so, the date will be on the court docket.              1500, Las Vegas, NV 89101
      required to do so.

                                                                                                           For more information, see page 2 >




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Debtor Gump's Holdings, LLC                                                                                                Case number 18−14683−leb


  7. Proof of claim deadline                  Deadline for filing proof of claim: 12/5/18 For a governmental unit: 1/30/19

                                              A proof of claim is a signed statement describing a creditor's claim. A proof of claim form may be obtained
                                              at www.uscourts.gov or any bankruptcy clerk's office.

                                              Your claim will be allowed in the amount scheduled unless:

                                                      • your claim is designated as disputed, contingent, or unliquidated;
                                                      • you file a proof of claim in a different amount; or
                                                      • you receive another notice.
                                              If your claim is not scheduled or if your claim is designated as disputed, contingent, or unliquidated, you
                                              must file a proof of claim or you might not be paid on your claim and you might be unable to vote on a plan.
                                              You may file a proof of claim even if your claim is scheduled.

                                              You may review the schedules at the bankruptcy clerk's office or online at www.pacer.gov.

                                              Secured creditors retain rights in their collateral regardless of whether they file a proof of claim. Filing a
                                              proof of claim submits a creditor to the jurisdiction of the bankruptcy court, with consequences a lawyer can
                                              explain. For example, a secured creditor who files a proof of claim may surrender important nonmonetary
                                              rights, including the right to a jury trial.


  8. Exception to discharge                   If § 523(c) applies to your claim and you seek to have it excepted from discharge, you must start a judicial
     deadline                                 proceeding by filing a complaint by the deadline stated below.
      The bankruptcy clerk's office must
      receive a complaint and any required
      filing fee by the following deadline.   Deadline for filing the complaint: None


                                              If you are a creditor receiving notice mailed to a foreign address, you may file a motion asking the court to
  9. Creditors
     address
               with a foreign                 extend the deadlines in this notice. Consult an attorney familiar with United States bankruptcy law if you
                                              have any questions about your rights in this case.


                                              Chapter 11 allows debtors to reorganize or liquidate according to a plan. A plan is not effective unless the
                                              court confirms it. You may receive a copy of the plan and a disclosure statement telling you about the plan,
  10. Filing a Chapter 11
      bankruptcy case
                                              and you may have the opportunity to vote on the plan. You will receive notice of the date of the confirmation
                                              hearing, and you may object to confirmation of the plan and attend the confirmation hearing. Unless a
                                              trustee is serving, the debtor will remain in possession of the property and may continue to operate its
                                              business.


                                              Confirmation of a chapter 11 plan may result in a discharge of debts, which may include all or part of your
                                              debt. See 11 U.S.C. § 1141(d). A discharge means that creditors may never try to collect the debt from the
  11. Discharge of debts                      debtor except as provided in the plan. If you want to have a particular debt owed to you excepted from the
                                              discharge and § 523(c) applies to your claim, you must start a judicial proceeding by filing a complaint and
                                              paying the filing fee in the bankruptcy clerk's office by the deadline.




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